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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 JOY BANNER, Ph.D.                                                     CIVIL ACTION


 VERSUS                                                                CASE NO. 23-7296


 ST. JOHN THE BAPTIST PARISH, et al.                                   SECTION: “G”

                                            ORDER

       Plaintiff Joy Banner, Ph.D. (“Plaintiff”) brings this suit against Defendants Michael

Wright, St. John the Baptist Parish, and Jaclyn Hotard (collectively, “Defendants”) alleging

violations of her First Amendment right to freedom of speech during a St. John the Baptist Parish

Council meeting.1 Trial in this matter is scheduled to begin on January 27, 2025. Before the Court

is Plaintiff’s Motion for Sanctions.2 Defendants oppose the motion.3

       Plaintiff is seeking sanctions against Jaclyn Hotard for allegedly failing to produce

discovery and lying under oath. Plaintiff requests attorney’s fees and to re-depose Hotard.4 During

the pretrial conference in this matter, the Court ordered a second deposition of Hotard limited to

information not previously disclosed.5 The second deposition has occurred. Therefore, the instant

motion is moot to the extent it requests that a second deposition be allowed.

       As to the request for attorney’s fees, Rule 37(c) provides for sanctions where a party fails




       1
           Rec. Doc. 1.

       2
           Rec. Doc. 92.

       3
           Rec. Doc. 106.

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           Rec. Doc. 92.

       5
           Rec. Doc. 128.
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to disclose or supplement an earlier discovery response. Specifically, Rule 37(c)(1) provides “[i]f

a party fails to provide information or identify a witness as required by Rule 26(a) or (e),” the court

may “order payment of the reasonable expenses, including attorney’s fees, caused by the failure”

and “may impose other appropriate sanctions.” Plaintiff asserts that Hotard deliberately concealed

text messages, while Defendants argue the failure to disclose the text messages was inadvertent.

Considering that a second deposition of Hotard has occurred and Plaintiff has been allowed to

conduct thorough discovery, the Court declines to award attorney’s fees as a discovery sanction.

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Sanctions6 is DENIED to the

extent it requests that attorney’s fees be awarded as a discovery sanction. The motion is MOOT

to the extent it requests that discovery be reopened to re-depose Jaclyn Hotard, as a second

deposition has already occurred.

       NEW ORLEANS, LOUISIANA, this 24th
                                    ____ day of January, 2025.




                                                       ________________________________
                                                       NANNETTE JOLIVETTE BROWN
                                                       CHIEF JUDGE
                                                       UNITED STATES DISTRICT COURT




       6
           Rec. Doc. 92.
